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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: September 05, 2024.

                                                         ________________________________________
                                                                    CRAIG A. GARGOTTA
                                                         CHIEF UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

  IN RE:                                          §   CASE NO. 22-50591-cag
                                                  §
  CHRIS PETTIT & ASSOCIATES, P.C. and             §   (JOINTLY ADMINISTERED)
  CHRISTOPHER JOHN PETTIT,                        §
                                                  §
           Debtors.                               §   CHAPTER 11

  ERIC TERRY, in his capacity as CHAPTER          §
  11 TRUSTEE for DEBTORS,                         §
        Plaintiff,                                §
                                                  §   ADVERSARY NO. 24-05031-cag
  v.                                              §
                                                  §
  TEXAS PARTNERS BANK d/b/a THE                   §
  BANK OF SAN ANTONIO and                         §
  CHRISTOPHER JOHN PETTIT,                        §
  INDIVIDUALLY,                                   §
        Defendant.                                §

                      ORDER GRANTING MOTION TO DISMISS (ECF No. 23)

           Upon conducting a customary examination of the docket, the Court noted that the parties
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  previously entered into a stipulation that the deadline for Plaintiff’s response be extended until

  July 22, 2024. (ECF No. 11). The Motion to Dismiss was filed on July 24, 2024. (ECF No. 23).

  Plaintiff’s deadline expired on August 14, 2024. An Amended Complaint was filed on August 30,

  2024. (ECF No. 33). Pursuant to Rule 7007(b)(2), the Court may grant a motion to dismiss if no

  response is filed. Here, nothing was filed within the acceptable timeframe. As such, the Court

  GRANTS Defendant’s Motion to Dismiss Case (ECF No. 23).

         It is therefore ORDERED that Defendant’s Motion to Dismiss Case is GRANTED.

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